Case 3:19-cv-00750-REP Document 74 Filed 03/26/21 Page 1 of 37 PagelD# 1188

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA
Richmond Division

JOSEPH E. PRESTON,

Plaintiff,
Vv. Civil Action No. 3:19-cv-00750
CITY COUNCIL OF
THE CITY OF PETERSBURG,
et al.,

Defendants.

MEMORANDUM OPINION

This matter is before the Court on two summary judgment
motions: one from Tribune Broadcasting Co. II, LLC (*Tribune” or
“WIVR”) and one from the City Council of the City of Petersburg
(“City Council”) along with the individual City Council members
(i.e., Treska Wilson-Smith, Darrin Hill, Samuel Parham, Charlie
Cuthbert, W. Howard Myers, Annette Smith-Lee, and John A. Hart,
Sr.). Tribune requests that the Court grant its MOTION FOR SUMMARY
JUDGMENT (“Tribune Motion for Summary Judgment”) (ECF No. 47) and
enter judgment in its favor on Count III of the Amended Complaint
(“AC”) (ECF No. 20). The City Council and the individual City
Council members (together the “City Defendants”) request that the
Court grant their MOTION FOR SUMMARY JUDGMENT (“City Motion for
Summary Judgment”) (ECF No. 49) and enter judgment in their favor

on Counts I, II, and IV. The City Defendants further request that
Case 3:19-cv-00750-REP Document 74 Filed 03/26/21 Page 2 of 37 PagelD# 1189

the Court award them costs and attorneys’ fees. For the reasons
set forth below, the Tribune Motion for Summary Judgment (ECF No.
47) will be granted and the City Motion for Summary Judgment (ECF
No. 49) will be granted in part and denied in part. The City
Defendants’ request for costs and attorneys’ fees is improperly
joined with the City Motion for Summary Judgment, and in any event,
the request is not documented. Hence, it will be denied without
prejudice.
I. BACKGROUND

This case arises out of events that occurred at a meeting of
the Petersburg City Council at which the City Council passed two
motions, one terminating Plaintiff Joseph E. Preston from his job
as the city attorney and one restricting his ability to enter City
Hall. Preston now sues the City Defendants for breach of contract,
defamation, and a violation of his constitutional rights. Preston
also sues Tribune, owner of local news station, WTVR, for WTVR’s
erroneous, and allegedly defamatory, news report of Preston's
termination. The following facts are presented in the light most
favorable to Preston, and Preston is afforded the benefit of all
reasonable inferences.

A. Preston’s Termination

Preston served as the City Attorney for the City of Petersburg
from October 10, 2016 to September 4, 2018. Tribune Summ. J. Mem.

{ 1, ECF No. 48; PLS' RESP. OPP'N. TRIBUNE MOT. SUMM. J. at 3, ECF
Case 3:19-cv-00750-REP Document 74 Filed 03/26/21 Page 3 of 37 PagelD# 1190

No. 55. As city attorney, Preston attended every City Council
meeting until the meeting on September 4, 2018. Tribune Summ. J.
Mem. ( 1, ECF No. 48.

On September 4, 2018, the City Council held a special meeting
at the Union Train Station rather than at City Hall, as usual.
PLS' RESP. OPP'N. TRIBUNE MOT. SUMM. J. at 3, ECF No. 55. Preston
was not present, being on vacation. PLS' RESP. OPP'N. TRIBUNE
MOT. SUMM. J. at 3, ECF No. 55. In fact, Preston did not know
about the meeting or that his termination was being discussed.
PLS' RESP. OPP'N. CITY MOT. SUMM. J. at 7, ECF No. 56.

After a period in closed session, the City Council returned
to open session and unanimously approved a motion to terminate
Preston and a motion to restrict his ability to enter City Hall.
EX. 2, ECF No. 55-2. The first motion, introduced by Council
Member Treska Wilson-Smith, terminated Preston as City Attorney,

effective immediately. The motion contained the curious language

that “[t]o the extent that contractual provisions, if any[,] may
apply, Mr. Preston is terminated for cause.” Ex. 2, ECF No. 55-
2. However, no “cause” was listed in the motion. PLS' RESP.

OPP'N. CITY MOT. SUMM. J. at 7, ECF No. 56.

The second motion, introduced by Council Member Charles

Cuthbert, stated:

I move that Council hereby instructs the Clerk of
Council to notify Joseph E. Preston, in writing, hand
delivered immediately, of his dismissal and that he
Case 3:19-cv-00750-REP Document 74 Filed 03/26/21 Page 4 of 37 PagelD# 1191

may enter City Hall, to retrieve personal items or
otherwise, only by appointment and only if accompanied
by a police officer of the Petersburg Police
Department, such officer to be designated by the City

Manager or her representative upon the request of Mr.
Preston.

EX. 1, ECF No. 55-1; PLS' RESP. OPP'N. TRIBUNE MOT. SUMM. J. at 3,
ECF No. 55. As was the case with the first motion, there was no
reason cited in support of the second motion.

The special meeting adjourned at 6:33 PM. PLS' RESP. OPP'N.
TRIBUNE MOT. SUMM. J. at 3, ECF No. 55.

B. News Coverage of Preston’s Termination

At 7:03 PM, the Petersburg City Manager, Aretha Ferrell-
Benevides, who had been at the special meeting, Ex. 2, ECF No. 55-
2, texted Wayne Covil, a senior WTVR reporter, saying, “They just
fired joe.” Ex. 2 at 5, ECF No. 48-2. Covil responded, “Wow.
Good for them. Thx for letting me know[.] Is he even there?” Ex.
2, ECF No. 48-2. To which Ferrell-Benevides replied, “Nope[.]
Immediately and to only be allowed back to pack under

supervision.”! Ex. 2, ECF No. 48-2. Covil responded, “Wow. That’s

 

* From this exchange, Preston argues that Covil had “actual
knowledge” that Preston was never present at the meeting. PLS!
RESP. OPP'N. TRIBUNE MOT. SUMM. J. at 4, ECF No. 55. For his part,
Covil submitted a declaration saying that he “did not understand
the text message [he] received from the City Manager to mean that

Mr. Preston had never been at the meeting.” Ex. 2 at 3, ECF No.
48-2.
Case 3:19-cv-00750-REP Document 74 Filed 03/26/21 Page 5 of 37 PagelD# 1192

intense for them.” Ex. 2, ECF No. 48-2.2

A game of telephone then commenced. Covil called WTVR’s late-
night news producer, Jennifer Carr, to inform her of Preston's
termination. PLS' RESP. OPP'N. TRIBUNE MOT. SUMM. J. at 4, ECF
No. 55. There is no evidence suggesting that Covil told Carr that
Preston was not at the meeting or that Covil gave Carr the actual
text of his exchange with Ferrell-Benevides, the city manager.
See PLS' RESP. OPP'N. TRIBUNE MOT. SUMM. J. at 4, ECF No. 55;
Tribune Summ. J. Mem. § 4, ECF No. 48.

Carr, in turn, called Jon Burkett, a reporter for WTVR, and
sent him to the public City Council meeting (held after the special
meeting) to cover the story.3 PLS' RESP. OPP'N. TRIBUNE MOT. SUMM.
J. at 4, ECF No. 55. Although Burkett was, in theory, a general
assignment reporter, in practice, he primarily covered crime, and
he had not had occasion to attend many city council meetings. PLS'
RESP. OPP'N. TRIBUNE MOT. SUMM. J. at 4, ECF No. 55,

Burkett arrived at the public meeting approximately one hour

after it started and made his way to the back of the room. PLS!

 

* The record does not disclose why the City Manager notified the
media by text, rather than by a press release. Nor does the record
explain Covil’s expression of approval: “Wow. Good for them.”

3 Covil’s shift ended roughly around the time that he received the
text message from Ferrell-Benevides. Tribune Summ. J. Mem. q 4,
ECF No. 48. After Covil told Jennifer Carr about Ferrell-
Benevides’ message, Covil had no further involvement with the
Preston story. Tribune Summ. J. Mem. 9 4, ECF No. 48.
Case 3:19-cv-00750-REP Document 74 Filed 03/26/21 Page 6 of 37 PagelD# 1193

RESP. OPP'N. TRIBUNE MOT. SUMM. J. at 4, ECF No. 55. There, he
briefly interacted with the Chief of Public Safety who Burkett
knew from his normal crime beat. See PLS' RESP. OPP'N. TRIBUNE
MOT. SUMM. J. at 4, ECF No. 55. Burkett made no attempt to discuss
the Preston story with the Chief of Public Safety (although he
would often want to talk to a member of command staff for his crime
stories). See PLS' RESP. OPP'N. TRIBUNE MOT. SUMM. J. at 4, ECF
No. 55.

While at the City Council meeting, Burkett spoke to someone
named Michael Edwards who Burkett knew and who “regularly attended
Petersburg City Council meetings and was knowledgeable about
events in Petersburg.”4 Tribune Summ. J. Mem. § 6, ECF No. 48.
Edwards confirmed that Preston had been terminated. Tribune Sumn.
J. Mem. § 7, ECF No. 48. Edwards also went on to say that, if
Preston were “‘to come back on property there’s a resolution or a
motion that council has put out that says he cannot come back
without an escort.’” PLS' RESP. OPP'N. TRIBUNE MOT. SUMM. J. at
5, ECF No. 55; Tribune Summ. J. Mem. ¢ 7, ECF No. 48.

Burkett remained at the public meeting for approximately 45
minutes to an hour and took video to use in his report. Tribune

Summ. J. Mem. § 5, ECF No. 48. He did not see Preston at the

 

* Because the meeting was ongoing, Burkett and Edwards spoke only
in whispers, Tribune Summ. J. Mem. § 6, ECF No. 48, and their
conversation was quite brief. PLS' RESP. OPP'N. TRIBUNE MOT. SUMM.
J. at 5, ECF No. 55.
Case 3:19-cv-00750-REP Document 74 Filed 03/26/21 Page 7 of 37 PagelD# 1194

meeting during that time, PLS' RESP. OPP'N. TRIBUNE MOT. SUMM. J.
at 4, ECF No. 55, and the City Council made no mention of Preston's
termination. Tribune Summ. J. Mem. 9 5, ECF No. 48.

Burkett knew that an attorney was usually present at council
meetings. Tribune Summ. J. Mem. 4 8, ECF No. 48. So based on his
knowledge of the motion restricting Preston’s ability to enter
City Hall and the fact that Preston was not at the meeting, Burkett
came to the conclusion that Preston had been at the meeting, but
had been escorted out.5 PLS' RESP. OPP'N. TRIBUNE MOT. SUMM. g.
at 5, ECF No. 55.

After attending the meeting, Burkett reported to Jennifer
Carr that “[Preston] has been fired, there was a motion that the
City Council put out that says [Preston] cannot come back without
an escort, and [Preston] was not in his chair.” PLS' RESP. OPP'N.
TRIBUNE MOT. SUMM. J. at 5, ECF No. 55.

No one ever actually told Burkett that Preston had been

escorted out of the meeting. PLS' RESP. OPP'N. TRIBUNE MOT. SUMM.

 

5 In the Tribune Motion for Summary Judgment, Tribune claimed that
Burkett’s assumption that Preston had been escorted out of the
meeting was supported by, “[1] the City Council Motion, [2] the
fact that it was Mr. Preston’s job to attend meetings, [3] Mr.
Burkett’s observation that the Plaintiff was not present at the
meeting, and [4] the fact that Mr. Burkett ha[d] previously
witnessed his own employer escort terminated employees from its
premises.” Tribune Summ. J. Mem. 9 8, ECF No. 48. Preston disputes
that Burkett relied on anything but the motion and Preston's
absence at the meeting. PLS' RESP. OPP'N. TRIBUNE MOT. SUMM. J.
at 5, ECF No. 55.
Case 3:19-cv-00750-REP Document 74 Filed 03/26/21 Page 8 of 37 PagelD# 1195

J. at 5, ECF No. 55; accord Tribune Summ. J. Mem. 9§ 5-9, ECF No.
48. And neither Burkett nor Carr nor Covil were aware that Preston
was out of town on September 4, 2018. Tribune Summ. J. Mem. q 9,
ECF No. 48.

WIVR’s 11:00 PM news segment reported Preston’s termination
based on the information that Burkett reported to Jennifer Carr.
Tribune Summ. J. Mem. § 10, ECF No. 48. The script for the 11:00
PM broadcast stated,

And breaking news out of Petersburg. That’s where City

Council members have unanimously voted . . . to dismiss
City Attorney Joeseph[sic] Preston — two years after
he was hired. He was escorted out of tonight’s

 

regularly scheduled meeting. Council also voted
unanimously to make sure Preston is escorted by police
anytime he steps into City Hall. The reason for his
dismissal is unclear.
Ex. A, ECF No. 48-5 (emphasis added). The script was read “against
video Burkett had taken at the City Council meeting” which showed
that Preston was absent from the meeting and with “the headline
‘City Attorney Joseph Preston Dismissed: Escorted out of Tonight's
Regularly Scheduled Meeting'" displayed on the bottom of the

screen. PLS' RESP. OPP'N. TRIBUNE MOT. SUMM. J. at 5, ECF No. 55

(emphasis added).

 

6 Preston argues that, based on Covil’s text message exchange with
Ferrell-Benevides, Covil had actual knowledge that Preston was not
at the meeting. PLS' RESP. OPP'N. TRIBUNE MOT. SUMM. J. at 4, ECF
No. 55. As discussed later, the Court does not find that to be a
reasonable inference.
Case 3:19-cv-00750-REP Document 74 Filed 03/26/21 Page 9 of 37 PagelD# 1196

It is beyond dispute that Preston was not at the City Council
meeting on September 4, 2018. And, therefore, Preston was, of
course, not escorted out of the meeting by police officers.

For reasons neither explained nor readily apparent, WTVR
never contacted Preston to verify any of the information that it
reported. PLS' RESP. OPP'N. TRIBUNE MOT. SUMM. J. at 5, ECF No.
55. And Preston never contacted anyone at WTVR or Tribune to
demand a clarification of the story. Tribune Summ. J. Mem. 4 14,
ECF No. 48. WTVR believed the story was accurate until Preston
filed the present action.’ Tribune Summ. J. Mem. § 14, ECF No.
48. And “[a]fter learning that the Plaintiff was not escorted out
of the meeting [from the Complaint filed herein], WTVR immediately
corrected the story to remove any reference to that sentence.”
Tribune Summ. J. Mem. § 15, ECF No. 48.

Cc. Preston’s Employment as City Attorney

Preston and the City Council entered into an employment
contract on October 10, 2016. City Summ. J. Mem. § 1, ECF No. 50.

By the terms of the contract, Preston was an at-will employee.
City Summ. J. Mem. ¢ 2, ECF No. 50. Nevertheless, the contract
contained a severance clause: if Preston was not terminated for

cause, he would receive a severance payment equal to half of his

 

? Preston maintains that WTVR had actual knowledge that he was not
at the meeting at the time the story aired. PLS' RESP. OPP'N,
TRIBUNE MOT. SUMM. J. { 8, ECF No. 55. Again, the Court does not
find that to be a reasonable inference.
Case 3:19-cv-00750-REP Document 74 Filed 03/26/21 Page 10 of 37 PagelD# 1197

annual salary in one lump sum payment. Ex. 2 (Petersburg City
Attorney Employment Agreement) ¢§ 13-14, ECF No. 50-3. If he was
terminated for cause, he would be due nothing. Ex. 2 § 13(B)(c),
ECF No. 50-3. The contract defined “cause” to include
malfeasance or misfeasance; material violation of City
policy rule or regulation; criminal oor civil
misconduct; unsatisfactory performance; failure to
maintain active status in the Virginia State Bar; a
finding by the state bar or any court of a breach of
the rules of ethics of the Commonwealth; or any other
behavior or conduct that would adversely affect the
confidence of the public or the Integrity of the City.
Termination under this paragraph[] does not require
any advance notice to the Employee.
Ex. 2 § 13(B)(c), ECF No. 50-3; City Summ. J. Mem. § 2, ECF No.
50.

The City Council now contends that, while Preston was the
city attorney, he committed a number of acts that could constitute
“cause” for his termination. City Summ. J. Mem. 9§ 9-27, ECF No.
50. By the City Council’s telling, (1) Preston improperly used
the city-owned Dogwood Trace Golf Course for free and attempted to
have his guests pay the city employee rate; (2) Preston received
a performance rating of 2.76 out of 5 with several scores of

“unsatisfactory”; (3) “The Mayor testified that the City Council

did not think that Preston had sufficient knowledge of municipal

10
Case 3:19-cv-00750-REP Document 74 Filed 03/26/21 Page 11 of 37 PagelD# 1198

law to serve as a city attorney”8; And, (4) Preston was known to
yell at employees. City Summ. J. Mem. 9§ 9-27, ECF No. 50.
During one of the occasions that Preston was heard disagreeing
with an employee, Stephanie Harris, the City Manager, Ferrell-
Benavides, and Council Member Cuthbert overheard and intervened.
City Summ. J. Mem. |§ 14-18, ECF No. 50. And, on August 19, 2018,
Preston was reported to have had a disagreement with a female
employee of Dogwood Trace Golf Course. According to the City
Council, that was the third time that Preston was reported to have
“yelled,” “verbally abused,” or “had a disagreement” with a female
employee. City Summ. J. Mem. 9§ 15, 21, 23, ECF No. 50.

Preston disputes the City’s recounting of the events leading
up to his termination. First, Preston maintains that Mayor Samuel
Parham offered “[Preston] and his guests free golf privileges at
Dogwood Trace Golf Course.”9 PLS' RESP. OPP'N. CITY MOT. SUMM. J.
(5, ECF No. 56. Second, Preston maintains that he had his guests

pay the “city rate” because that was what the Dogwood Trace

 

8 Preston disputes that the cited deposition testimony supports
this statement. PLS' RESP. OPP'N. CITY MOT. SUMM. J. § 6, ECF No.
56. Having read the provided excerpts of Parham’s testimony, see
Ex. 7, ECF No. 50-8, the Court agrees that the cited provisions
are insufficient to support the statement, but the rest of the
provided testimony in support of the statement is accurate.

° The City denies this and points to a clause in Preston’s contract

stating that “[a]ny prior discussions or representations by or
between the Parties are merged into and rendered null and void by
this Agreement.” City Summ. J. Mem. 9§ 2,9, ECF No. 50; Ex. 2 §

19(A), ECF No. 50-3. It is unclear when the Mayor made that offer.

11
Case 3:19-cv-00750-REP Document 74 Filed 03/26/21 Page 12 of 37 PagelD# 1199

employees told Preston that his guests needed pay. PLS' RESP.
OPP'N. CITY MOT. SUMM. J. 9 6, ECF No. 56. Third, Preston asserts
that his average performance review score was brought down by the
ratings given Council Members Wilson-Smith and Cuthbert, the two
City Council members who introduced the motions against Preston.
PLS' RESP. OPP'N. CITY MOT. SUMM. J. 11 7-8, ECF No. S56.
Specfiically, Preston reports that “Cuthbert and Wilson-Smith were
the only council members to have given Plaintiff a rating of 1
[“Unsatisfactory”] out of 5 in any subsection, and only Cuthbert
averaged to a 1 out of 5 in any subsection.” PLS' RESP. OPP'N.
CITY MOT. SUMM. J. § 8, ECF No. 56. “Plaintiff’s overall ratings
by the City Council, less Cuthbert’s amended ratings, was 3.04,
correlating to a ‘Meetings Job Standard’ rating. ... Plaintiff’s
overall rating with Cuthbert’s ratings dropped his score to a
2.76." PLS' RESP. OPP'N. CITY MOT. SUMM. J. at 4, ECF No. 56
(citations omitted). Finally, Preston disputes the City
Defendant’s descriptions of his interactions with various
employees, see PLS' RESP. OPP'N. CITY MOT. SUMM. J. 94 10-20, ECF
No. 56.

Preston and the City Council are obviously far apart on many
of these facts, and, unsurprisingly, Preston and the City

Defendants dispute whether Preston was terminated for cause. See

City Summ. J. Mem. 4 4, ECF No. 50; PLS' RESP. OPP'N. CITY MOT.

12
Case 3:19-cv-00750-REP Document 74 Filed 03/26/21 Page 13 of 37 PagelD# 1200

SUMM. J. at 23-25, ECF No. 56. Nevertheless, there are two notable
points of agreement that are worth discussing.

First, after Ferrell-Benavides and Cuthbert intervened in the
dispute between Preston and Stephanie Harris, the incident was
discussed at a closed city council meeting and an independent
hearing officer from Virginia State University was brought in.
PLS' RESP. OPP'N. CITY MOT. SUMM. J. at 5, ECF No. 56. That
independent officer determined that Preston “did nothing wrong” in
his interactions with Harris and “was just doing his job.” PLS!
RESP. OPP'N. CITY MOT. SUMM. J. at 5, ECF No. 56. That fact
permits a strong inference that “cause” for termination could not
have been based on the incident involving Harris.

Second, Cuthbert and Preston had a tense relationship. See
PLS' RESP. OPP'N. CITY MOT. SUMM. J. at 4-5, ECF No. 56. In
addition to what was noted above, in June 2018, “at the request of
every council member except Wilson-Smith and Lee-Smith, [Preston]
wrote a cease and desist letter to Cuthbert for using his personal
legal letter head for city council matters.” PLS' RESP. OPP'N.
CITY MOT. SUMM. J. at 5, ECF No. 56. But the letter was “leaked
to Cuthbert by Wilson-Smith prior to delivery, causing the other
council members to refuse to sign it.” PLS' RESP. OPP'N. CITY
MOT. SUMM. J. at 5, ECF No. 56. According to Preston, “Cuthbert
waS upset about the cease and desist letter.” PLS' RESP. OPP'N.

CITY MOT. SUMM. J. at 6, ECF No. 56.

13
Case 3:19-cv-00750-REP Document 74 Filed 03/26/21 Page 14 of 37 PagelD# 1201

Then, on September 4, 2018, Council Member Wilson-Smith
introduced the motion calling for Preston's termination, and
Council Member Cuthbert introduced the motion banning Preston from
City Hall unless he entered by appointment, with a police officer,
for the purpose of retrieving his personal items. City Summ. J.
Mem. §§ 4-5, ECF No. 50. Cuthbert was apparently the author of
both of those motions. PLS' RESP. OPP'N. CITY MOT. SUMM. J. at 6,
ECF No. 56. In any event, Cuthbert’s motion notwithstanding,
Preston was able to return “to City Hall without being accompanied
by a police officer[,]” and he “was not asked to leave City Hall
or prohibited from transacting his business.” City Summ. J. Mem.
{ 6, ECF No. 50.

The Defendants’ summary judgment motions must be decided in
perspective of this record.

II. DISCUSSION
A. Standard of Review

A district court should grant a party’s motion for summary
judgment where the moving party demonstrates that there are no
genuine issues of material fact, and the movant is entitled to
judgment as a matter of law. Fed. R. Civ. P. 56(a). An issue is
“genuine” if a reasonable jury could return a verdict for the non-
moving party. Jacobs v. N.C. Admin. Office of the Courts, 780
F.3d 562, 568 (4th Cir. 2015). A fact is “material” if, based on

the governing law, it could affect the outcome of the suit. Id.

14
Case 3:19-cv-00750-REP Document 74 Filed 03/26/21 Page 15 of 37 PagelD# 1202

“[A] complete failure of proof concerning an essential element of
the nonmoving party’s case renders all other facts immaterial.”
Celotex Corp. v. Catrett, 477 U.S. 317, 322-23 (1986) (internal
quotation marks omitted).

To successfully oppose a motion for summary judgment, the
nonmoving party must show that there are specific facts that create

a genuine issue for trial. See Anderson v. Liberty Lobby, Inc.,

 

477 U.S. 242, 250 (1986). And, “[c]lonclusory or speculative
allegations do not suffice to oppose a properly supported motion
for summary judgment, nor does a mere scintilla of evidence.”

Matherly v. Andrews, 859 F.3d 264, 280 (4th Cir. 2017) (quoting

 

Thompson v. Potomac Elec. Power Co., 312 F.3d 645, 649 (4th Cir.
2002)) (internal quotation marks omitted). Consequently, summary
judgment is appropriate where “the record taken as a whole could
not lead a rational trier of fact to find for the non-moving

party ... .” United States v. Lee, 943 F.2d 366, 368 (4th Cir.

 

1991).

When evaluating a motion for summary judgment, the district
court must view the evidence in the light most favorable to the
non-moving party. Jacobs, 780 F.3d at 568. That includes drawing
all reasonable inferences in favor of the non-moving party.
Ballinger v. North Carolina Agricultural Extension Service, 815
F.2d 1001, 1004 (4th Cir. 1987). The court must also refrain from

weighing the evidence or making credibility determinations.

15
Case 3:19-cv-00750-REP Document 74 Filed 03/26/21 Page 16 of 37 PagelD# 1203

Jacobs, 780 F.3d at 569. ““Ssummary judgment cannot be granted
merely because the court believes that the movant will prevail if
the action is tried on the merits.’” Jacobs, 780 F.3d at 568
(quoting 10A Charles Alan Wright & Arthur R. Miller et al., Federal
Practice & Procedures § 2728 (3d ed. 1998)).

Guided by these principles, the Court assess each summary
judgment motion in turn.
B. Claim Against Tribune

In Count III, Preston alleges that WTVR, made a defamatory?°
statement when it reported that Preston “was escorted out” of the
September 4, 2018 City Council meeting “while at the same time
stating ‘[City] Council voted unanimously to make sure he [Joseph
Preston] is escorted by police anytime he steps into City Hall.’”
AC 4{ 52-53, ECF No. 20.

Tribune responds that, as a public official, Preston can only
make out a claim for defamation if he can show that WTVR acted
with “actual malice.” Tribune Summ. J. Mem. at 2-3, ECF No. 48.
And, says Tribune, no reasonable jury could find that WTVR acted
with actual malice. Tribune Summ. J. Mem. at 2, ECF No. 48.

In response, Preston makes three arguments. First, he argues

that, because he was fired during the meeting, he was no longer a

 

10 For the reasons that follow, the fact that Preston claims that
the statement was defamation per se is irrelevant because the Court
does not reach the question of whether WIVR’s news report had the
requisite “sting” to be defamatory.

16
Case 3:19-cv-00750-REP Document 74 Filed 03/26/21 Page 17 of 37 PagelD# 1204

public official by the time Tribune aired the allegedly defamatory
Statement, and therefore, he need not prove that WTVR acted with
“actual malice,” but rather simple negligence. PLS’ RESP. OPP'N.
TRIBUNE MOT. SUMM. J. at 8, ECF No. 55. Next, Preston argues that,
even if he were still a public official, WTVRs’s story was not
related to his official conduct, and so again, he would only need
to prove that WTVR acted negligently. PLS' RESP. OPP'N. TRIBUNE
MOT. SUMM. J. at 8, ECF No. 55. And finally, Preston argues that,
even if the Court were to find that he was a public official and
that WIVR’s statement was related to his official conduct, there
is, nevertheless, sufficient evidence on the record to show that
there is a genuine issue as to whether or not Tribune acted with
actual malice. PLS' RESP. OPP'N. TRIBUNE MOT. SUMM. J. at 10, ECF
No. 55.

Preston is mistaken on all three points.

1. Defamation Generally

To make out a claim for defamation, a plaintiff must show
that there was “‘(1) publication of (2) an actionable statement

with (3) the requisite intent.’” Schaecher v. Bouffault, 772

 

S.E.2d 589, 594 (Va. 2015) (quoting Tharpe v. Saunders, 737 S.E.2d

 

890, 892 (Va. 2013)). A statement is actionable if it is both
false and defamatory. Schaecher v. Bouffault, 772 S.E.2d 589, 594
(Va. 2015). A statement is defamatory if it “‘tends to injure

one’s reputation in the common estimation of mankind, to throw

17
Case 3:19-cv-00750-REP Document 74 Filed 03/26/21 Page 18 of 37 PagelD# 1205

contumely, shame, or disgrace upon him, or which tends to hold him
up to scorn, ridicule, or contempt, or which is calculated to
render him infamous, odious, or ridiculous.’” Schaecher v.
Bouffault, 772 S.E.2d 589, 594 (Va. 2015) (quoting Moss v. Harwood,
46 S.E. 385, 392 (Va. 1904)).

The requisite intent that a plaintiff must prove to make out
a claim for defamation varies based on whether the plaintiff isa
private figure or a public figure (sometimes referred to as a
“public official”). Where the plaintiff is a private figure, he
or she must show, by a preponderance of the evidence, that the
Statement was false and “that the defendant either knew it to be
false, or believing it to be true, lacked reasonable grounds for
such belief, or acted negligently in failing to ascertain the facts

on which the publication was based.” Gazette, Inc. v. Harris, 325

 

S.E.2d 713, 725 (Va. 1985); Hyland v. Raytheon Tech Servs. Co.,
670 S.E.2d 746, 750 (Va. 2009). In contrast, where the plaintiff
is a public figure, he or she must show, by clear and convincing
evidence, that the defamatory falsehood was (1) related to the
plaintiff's official conduct and (2) made with “actual malice,”

(i.e., knowledge that the statement was false or reckless disregard

for whether the statement was false or not). New York Times Co.

 

v. Sullivan, 376 U.S. 254, 279-80 (1964); Gertz v. Robert Welch,

418 U.S. 323, 342 (1974).

18
Case 3:19-cv-00750-REP Document 74 Filed 03/26/21 Page 19 of 37 PagelD# 1206

2. Public Official

Preston acknowledges that a city attorney is a public figure,
but he argues that he was no longer the city attorney (and thus no
longer a public figure) when the news report aired. See PLS' RESP.
OPP'N. TRIBUNE MOT. SUMM. J. at 8, ECF No. 55. Without doubt,
Reston’s service as City Attorney had been terminated when the
Tribune story aired. However, that does not mean that, in
defamation jurisprudence, he was no longer a “public figure” or
“public official.”

The concept of “public figure” or “public official” is defined
by constitutional protections for free speech not state-law
definitions developed for “local administrative purposes.”

Rosenblatt v. Baer, 383 U.S. 75, 84 (1966). And, for the purposes

 

of protecting the public's right to criticize the government,
including former officials, the fact that an individual left a
position as a public official before the defamatory statement in
question was made has no “decisional significance” if the
performance of the former official’s duties is still a matter of

public concern. Rosenblatt v. Baer, 383 U.S. 75, 87, n.14 (1966).

 

Although “there may be cases where a person is so far removed
from a former position of authority that comment on the manner in
which he performed his responsibilities no longer has the interest
necessary to justify” treating him as a “public figure,” if the

matters overseen by the former official are still a subject of

19
Case 3:19-cv-00750-REP Document 74 Filed 03/26/21 Page 20 of 37 PagelD# 1207

“lively public interest,” the former official is still
functionally a public figure for the purposes of a defamation

claim. Rosenblatt v. Baer, 383 U.S. 75, 87, n.14 (1966). Here,

 

the Court finds that, given that WIVR’s story aired the same day
that Preston was terminated, Preston’s performance of his duties
as city attorney and his termination from that position — which
implicated both the quality of his past performance and the
question of who would fulfill those duties in the future — was
very much still a matter of public concern. Thus, for purposes of
assessing Tribune’s motion for summary judgment, Preston will be
regarded as a “public figure.”

3. Official Conduct

Next, Preston argues that, even if he were a public figure
when the news report aired, WTIVR’s report did not relate to
Preston’s official conduct. See PLS' RESP. OPP'N. TRIBUNE MOT.
SUMM. J. at 8, ECF No. 55. But again, Preston is mistaken.

Much like the term “public official,” “official conduct” is
not strictly limited to the “customary meaning” of that term. See
Monitor Patriot Co. v. Roy, 401 U.S. 265, 274 (1971). “Anything
which might touch on an official's fitness for office’ can

constitute “official conduct.” Monitor Patriot Co. v. Roy, 401

 

U.S. 265, 274 (1971) (quoting Garrison v. Louisiana, 379 U.S. 64,

 

72 n.8 (1964)). And, courts have indeed interpreted “anything” to

mean almost anything. See Dixon v. Int'l Bhd. of Police Officers,

20
Case 3:19-cv-00750-REP Document 74 Filed 03/26/21 Page 21 of 37 PagelD# 1208

504 F.3d 73, 88 (lst Cir. 2007) (“So many things can ‘touch on’
someone’s ‘fitness for office’ that this restriction to the actual

malice standard is very rarely applied.” ); Buendorf v. National

 

Pub. Radio, Inc., 822 F. Supp. 6, 12 (D.C. Cir. 1993) (“The Supreme
Court and lower courts have construed the rule of New York Times
Co. v. Sullivan to include almost any comment regarding a public
official.”). This liberal interpretation of “official conduct”
“protects the paramount public interest in a free flow of
information to the people concerning public officials, their

servants.” Garrison v. Louisiana, 379 U.S. 64, 77 (1964).

 

Under the liberal definition of “official conduct” employed
by the federal courts, Preston’s termination - and the
circumstances surrounding it - falls into the definition of
“official conduct.”

4. Actual Malice

Finally, Preston argues that, even if he were a public figure,
and the broadcast related to his official conduct (such that the
standard of proof was “actual malice”), there is indeed evidence
of “actual malice,” or at least evidence sufficient to show that
there is a genuine issue of material fact as to whether WTVR acted
with “actual malice.”

Preston makes four arguments to support his position. First,
he argues that the text message from Ferrell-Benevides to Covil,

a WIVR reporter, meant that WTVR had actual knowledge that Preston

21
Case 3:19-cv-00750-REP Document 74 Filed 03/26/21 Page 22 of 37 PagelD# 1209

was never at the September 4 City Council meeting. See PLS' RESP.
OPP'N. TRIBUNE MOT. SUMM. J. at 10, ECF No. 55. Next, relying on
Jordan v. Kollman, 612 S.E.2d 203 (Va. 2005), Preston argues that
“Burkett totally fabricated the allegation that Plaintiff had been
escorted out of the City Council meeting.” PLS' RESP. OPP'N.
TRIBUNE MOT. SUMM. J. at 10, ECF No. 55. Then, relying on Gilmore
v. Jones, 370 F. Supp. 3d 630 (W.D. Va. 2019), Preston argues that
“Burkett departed from journalistic standards by failing to
investigate.” PLS' RESP. OPP'N. TRIBUNE MOT. SUMM. J. at ll, ECF
No. 55. And, finally, Preston argues that “there is conflicting
evidence in the record whether Carr had information about the text
message Covil received from Ferrell-Benevides which, again,
clearly stated that the Plaintiff was not at the meeting.” PLS!
RESP. OPP'N. TRIBUNE MOT. SUMM. J. at 11-12, ECF No. 55.
a. Actual Malice Generally

A defendant acts with “actual malice” if he or she publishes

a statement “with knowledge that it was false or with reckless

disregard of whether it was false or not.” St. Amant v. Thompson,

 

390 U.S. 727, 728 (1968); New York Times Co. v. Sullivan, 376 U.S.
254, 279-80 (1954). What counts as “reckless disregard” will
ultimately need to be decided on a case-by-case basis, but there
are some hard rules. See St. Amant _v. Thompson, 390 U.S. 727,
730-31 (1968). Most importantly, “reckless conduct is not measured

by whether a reasonably prudent man would have published, or would

22
Case 3:19-cv-00750-REP Document 74 Filed 03/26/21 Page 23 of 37 PagelD# 1210

have investigated before publishing”; rather, “[t]here must be
sufficient evidence to permit the conclusion that the defendant in
fact entertained serious doubts as to the truth of his
publication.” St. Amant v. Thompson, 390 U.S. 727, 731 (1968)
(emphasis added).

That said, a defendant cannot stop a defamation claim merely

by testifying that he or she believed the statements in question

were true. Rather, “[t]he finder of fact must determine whether
the publication was indeed made in good faith.” St. Amant v.
Thompson, 390 U.S. 727, 732 (1968). Examples of “bad faith” or

reckless publication include (1) “where a story is fabricated by
the defendant, is the product of his imagination, or is based
wholly on an unverified anonymous telephone call”; (2) where “the
publisher's allegations are so inherently improbable that only a
reckless man would have put them in circulation”; and (3) where
“there are obvious reasons to doubt the veracity of the informant

or the accuracy of his reports.” St. Amant v. Thompson, 390 U.S.

 

727, 732 (1968).

Moreover, it is a cardinal rule for defamation jurisprudence
that “[(flailure to investigate does not in itself establish bad
faith.” St. Amant v. Thompson, 390 U.S. 727, 733 (1968); Ryan v.
Brooks, 634 F.2d 726, 733 (4th Cir. 1980). And, summarizing a
source’s words does not automatically mean a journalist published

a story with actual malice, even where the journalist uses

23
Case 3:19-cv-00750-REP Document 74 Filed 03/26/21 Page 24 of 37 PagelD# 1211

“slightly stronger” language than his or her source. Cf. Ryan v.
Brooks, 634 F.2d 726, 733 (4th Cir. 1980) (“The historian's job is
not to copy statements exactly as written ina secondary source,
but to interpret and rework them into the whole.”).

Here, a reasonable jury could not render a verdict in favor
of Preston because the evidence that Preston has put forth against
Tribune simply would not support a finding of actual malice.

b. The Import of the Text Messages

The linchpin in Preston’s argument is that, as a result of
City Manager Ferrell-Benevides’ text message to Covil, Burkett had
actual knowledge that Preston was never at the City Council
meeting. That is simply not a reasonable inference to draw from
Ferrell-Benevides’ text messages.11 After learning from Ferrell-
Benevides, via text message, that Preston had been fired, Covil

responded, “Wow. Good for them. Thx for letting me know[.] Is he

even there?” Ex. 2, ECF No. 48-2. Ferrell-Benevides replied,
“Nope[.] Immediately and to only be allowed back to pack under
Supervision.” Ex. 2, ECF No. 48-2. With the benefit of 20/20

hindsight, it is clear that the text exchange between Ferrell-

Benevides and Covil was not as clear as it seemed to Covil at the

 

11 Although a court evaluating a summary judgment motion must view
evidence in the light most favorable to the non-moving party (here
the plaintiff), the court is not required to draw unreasonable
inferences in the non-moving party’s favor. See Scott v. Harris,
550 U.S. 32, 378 (2007).

 

24
Case 3:19-cv-00750-REP Document 74 Filed 03/26/21 Page 25 of 37 PagelD# 1212

time he relayed his understanding to WIVR producer Jennifer Carr.
However, Covil submitted a declaration saying that he “did not
understand the text message [he] received from the City Manager to
mean that Mr. Preston had never been at the meeting.” Ex. 2 at 3,
ECF No. 48-2. And the Court has not been made aware of any direct
evidence that any WTVR employee had actual knowledge to the
contrary. Rather, Preston makes an argument about the most
reasonable interpretation of the text message exchange and
presents circumstantial evidence to support his claim that WTVR
had “actual knowledge.”

The Court finds that Covil’s interpretation of Ferrell-
Benevides’ text messages was a reasonable interpretation even if
it was not the only reasonable interpretation. Where a news outlet
adopts one of multiple reasonable interpretations of a source’s
statement, no reasonable jury could find that the news outlet acted
with “actual malice.” CACI Premier Tech., Inc. v. Rhodes, 536
F.3d 280, 296 (4th Cir. 2008) (“[A] speaker or publisher may adopt
‘one of a number of possible rational interpretations of [sources]
that [contain] ambiguities’ without creating a jury issue of

actional malice.”) (quoting Time, Inc. v. Pape, 401 U.S. 279, 290

 

(1971)) (alternation in original).
The Court, therefore, does not find persuasive Preston’s
argument that there is a factual dispute over whether Jennifer

Carr “actually had information about the text message Covil

25
Case 3:19-cv-00750-REP Document 74 Filed 03/26/21 Page 26 of 37 PagelD# 1213

received from Ferrell-Benevides.” PLS' RESP. OPP'N. TRIBUNE MOT.
SUMM. J. at 11-12, ECF No. 55. Because the text messages were, at
best, ambiguous, and because the Court is not aware of any evidence
suggesting that Carr’s interpretation would have differed from
Covil’s interpretation, any factual dispute about Carr's knowledge
of the text messages is immaterial.

c. Fabrication Argument

Next, Preston relies on Jordan v. Kollman, 612 S.E.2d 203

 

(Va. 2005) to support his argument that, in this case, unlike in
Jordan, the story Burkett reported was fabricated and a product of
his imagination. In fact, Jordan bears several similarities to
the present case and suggests that Burkett did not completely
fabricate his story. In Jordan, a citizen took out ads criticizing
a local politician; the ads were based on a newspaper article and
what the citizen knew about a closed city council session. Jordan,
612 S.E.2d at 204, 209. The citizen was actually mistaken in his
interpretation of events, but because there was no obvious reason
to think that the newspaper article was false, the Supreme Court
of Virginia found that there was no “clear and convincing evidence
which would permit the jury to find [the citizen] acted with actual

malice merely because he failed to comprehend the intricacies of

City Council voting procedure.” Jordan, 612 S.E.2d at 209-10. In
short, the record did not show, by clear and convincing evidence,

that the citizen’s ads were fabricated or a product of his

26
Case 3:19-cv-00750-REP Document 74 Filed 03/26/21 Page 27 of 37 PagelD# 1214

imagination. Jordan, 612 S.E.2d at 209. Here, like in Jordan,
the primary WTVR reporter, Jon Burkett, based his reporting on a
lead from two sources (i.e., his colleagues and an observer,
Michael Edwards) and a misunderstanding of city council
procedures. The record does not show that Burkett had any reason
to doubt what his colleagues and Mr. Edwards told him. Cf. St.

Amant v. Thompson, 390 U.S. 727, 732 (1968). The fact that Burkett

 

could have spoken with additional or different sources does not
mean he “completely” fabricated a story, particularly when
Burkett’s story was, in part, based on his own observation that
Preston was not at the city council meeting. Thus, here, as in
Jordan, there is no clear and convincing evidence that would allow
a jury to find that Burkett’s reporting was fabricated or a product
of his imagination. And thus, there is no evidence of “bad faith”
to support a claim of actual malice.
d. Journalistic Standards

Finally, Preston cites Gilmore v. Jones for the proposition
that WIVR deviated from journalistic standards by failing to
investigate. PLS' RESP. OPP'N. TRIBUNE MOT. SUMM. J. at 11, ECF
No. 55. Specifically, Preston says that failing to reach out to
the subject of a news story “coupled with allegations that the
defendant preconceived a story line and then made false statements
to conform to that story line” is sufficient to make out an

inference that the news organization published the story with

27
Case 3:19-cv-00750-REP Document 74 Filed 03/26/21 Page 28 of 37 PagelD# 1215

actual malice. PLS' RESP. OPP'N. TRIBUNE MOT. SUMM. J. at 11, ECF
No. 55; Gilmore v. Jones, 370 F. Supp. 3d 630, 673 (W.D. Va. 2019).

However, Gilmore v. Jones is inapposite. First, WTVR did

 

investigate the story: WIVR sent a reporter to the City Council
meeting who observed that Preston was not present and spoke with
another observer who confirmed that Preston was not allowed “‘to
come back on property . . . without an escort.’” PLS' RESP. OPP'N.
TRIBUNE MOT. SUMM. J. at 5, ECF No. 55; Tribune Summ. J. Mem. q 7,
ECF No. 48. On this record, the Court cannot find that the fact
that WTVR did not reach out to Preston is probative of actual
malice, St. Amant v. Thompson, 390 U.S. 727, 733 (1968); Ryan v.
Brooks, 634 F.2d 726, 733 (4th Cir. 1980). Second, as noted above,
Preston’s “actual knowledge” or “fabrication” arguments are not
persuasive. And third, there is no evidence that WIVR made false
statements to deliberately conform to a preconceived story line;
the record shows that WTVR believed its report was accurate. !2

5. Defamation Summary

On the current summary judgment record, the Court finds that
Preston was a public official during the relevant time period; the
Statement at issue was related to his official conduct; and no

reasonable jury could find that WTVR acted with actual malice.

 

72 One rightly might wonder why a reporter, such as Burkett, would
not have reviewed the text of the motions before filing the story.
However, Preston cites no authority requiring that to have been
done.

28
Case 3:19-cv-00750-REP Document 74 Filed 03/26/21 Page 29 of 37 PagelD# 1216

Accordingly, there is no need to address whether WTVR’s report had
the requisite sting to be defamatory or whether WTVR’s report was
substantially true.

Undoubtedly, the actual malice standard sets a high bar that
is difficult for plaintiffs to meet. But the Supreme Court has
concluded that the high bar serves to “balance private rights to
protection of reputation against the First Amendment rights of
writers and publishers to print information on matters of interest
to the public[.] Ryan v. Brooks, 634 F.2d 726, 733 (4th Cir. 1980)

(quoting Time, Inc. v. Hill, 385 U.S. 374, 389 (1967)).33

 

Cc. Claims Against the City Defendants

1. Count I: Breach of Contract Against the City Council

Count I is a breach of contract claim predicated on the theory
that the termination of Preston's employment was not for cause.
Therefore, says Preston, he is entitled to a severance payment
equal to six-months’ salary ($77,500) plus pre-judgment interest.
FAC 9 39-40, ECF No. 20.

The City Defendants take a different view. Under the terms

of Plaintiffs’ employment contract, “cause” is defined broadly to:

 

It recently has been suggested that the bar is too high and that
the actual malice rule has no constitutional foundation. McKee v.
Cosby, 586 U.S. (2019) (Thomas, J., concurring in denial of
certiorari); Tah v. Global Witness Publ’g, Inc., No. 19-7132, 2021
WL 1045205 *15-17, U.S. App. LEXIS 8046 (D.C. Cir. March 19, 2021)
(Silberman dissenting). However, it is not for this Court to
revisit that topic.

29
Case 3:19-cv-00750-REP Document 74 Filed 03/26/21 Page 30 of 37 PagelD# 1217

include malfeasance or misfeasance; material violation

of City policy rule or regulation; criminal or civil

misconduct; unsatisfactory performance; failure to

maintain active status in the Virginia State Bar; a

finding by the state bar or any court of a breach of the

rules of ethics of the Commonwealth; or any behavior or

conduct that would adversely affect the confidence of

the public or the Integrity of the City.
City Summ. J. Mem. at 3, ECF No. 50; Ex. 2 at 5, ECF No. 50-3.
Given that broad definition and Preston’s conduct (as described by
the City Defendants), the City Defendants maintain that Preston
was fired for cause. City Summ. J. Mem. at 18-19, ECF No. 50.

The Court finds that the record on this issue does not lend
itself to summary judgment. Preston correctly points out that the
motion which effected his termination did not explain why Preston
was terminated. The motion, of course, did contain the conclusory,
equivocal and curious statement about cause cited above (i.e.,
“[t]o the extent that contractual provisions, if any may apply,
Mr. Preston is terminated for cause.”). EX. 2, ECF No. 55-2.
However, from that enigmatic text one might reasonably infer that
the reasons for Preston’s termination was not based on his
employment contract at all. Thus, considering that inference, and
given: (1) the absence from the termination motion of any cited
cause whatsoever; (2) the showing that Preston has made about the

agifficulties that existed from time to time between Preston and

other city employees, (3) the fact that the independent hearing

30
Case 3:19-cv-00750-REP Document 74 Filed 03/26/21 Page 31 of 37 PagelD# 1218

officer found that Preston did nothing wrong when he was at odds
with Stephanie Harris, and (4) the length of time between the
termination motion and the other reasons to which the City
Defendants point in their brief, a reasonable jury could conclude
that the statement about cause was simply pretext designed to avoid
the payment of $77,500 to Preston.

2. Count II: Defamation Against the Individual City
Council Members

In Count II, the AC presented a claim asserted to be
“DEFAMATION PER SE AGAINST THE CITY COUNCIL DEFENDANTS.” (ECF No.
20, pp. 8-9, §§ 41-50). In paragraph 42 of the AC, Preston asserted
that the claim was against the City Council, by and through its
individual members in their individual capacities. After the City
Council moved for summary judgment asserting sovereign immunity,
the Court, at Preston’s request, voluntarily dismissed the City
Council as a defendant. PL.’S RESP. DEFS.’ SUPPL. BR. SUPP. MOT.
SUMM. J., ECF No. 72; ORDER, ECF No. 73.

Thus, what remains of Count II is a defamation claim against
the individual Petersburg City Council members (i.e., Treska
Wilson-Smith, Darrin Hill, Samuel Parham, Charlie Cuthbert, W.

Howard Myers, Annette Smith-Lee, and John A. Hart, Sr.) in their

individual capacities.14 According to Preston, those defendants

 

14 Their brief noted that the City Councilors asserted they would
be entitled to sovereign immunity on “Preston's official capacity
claims.” City Mot. for Summ. J. at 13, n.1, ECF No. 50. However,

31
Case 3:19-cv-00750-REP Document 74 Filed 03/26/21 Page 32 of 37 PagelD# 1219

allegedly defamed Preston, again as individuals, by unanimously
passing a motion, introduced by Council Member Cuthbert (with whom
Preston had a poor relationship) that restricted Preston’s ability
to enter City Hall without a police escort.15 See AC 4§ 42-43. In
other words, those defendants, as individuals, somehow were each
acting with the requisite defamatory intent, (i.e., actual
malice), when, as City Council members, they voted to pass a
resolution restricting Preston’s access to the building.1¢

Quite frankly, it is difficult to fathom how a member of a
City Council can commit, as an individual, an act of defamation by
voting for a motion on which that person is entitled to vote only
in an official capacity. But, if that were possible, then, to the
extent that Preston’s defamation claim is intended to be asserted

against the individual City Council members, it must be against

 

Preston’s claims were quite clearly brought against the individual
city councilors in their individual capacities. AC | 42, ECF No.
20.

1s The defamation claim is not directly based on the first motion
passed by the City Council which terminated Preston. See AC 4 42.

*6 The City Council members have not asserted legislative immunity.
And, for the purposes of summary judgment, the City Council members
did not assert immunity under Va. Code § 8.01-223.2 or common law
qualified privilege. But see BR. IN SUPP. OF MOT. TO DISMISS PL.’S
AM. COMPL. at 9-12, ECF No. 22 (asserting that the individual
council members are immune from a defamation suit via Va. Code §
8.01-223.2, which protects statements made a public hearing before
the governing body of any locality, anda qualified privilege which
protects, among other things, certain employment discussions).
That argument was not made on summary judgment and will not be
addressed.

32
Case 3:19-cv-00750-REP Document 74 Filed 03/26/21 Page 33 of 37 PagelD# 1220

them in their official capacities. As Preston acknowledged in
asking for dismissal of Count II against the City Council, it
enjoyed sovereign immunity from a tort suit for damages. So too
would the individual members of the City Council who, in their
official capacities, voted in favor of the second motion.

But, if somehow that were not the case, the previously made
actual malice analysis would entitle the City Council members to
summary judgment.

a. Actual Malice v. Ill Will

For the reasons discussed in Part II.B, Preston is a public
figure. Thus, to make out a claim for defamation, Preston must
show, by clear and convincing evidence, that the second motion was
passed with actual malice. A statement is made with “actual
malice” if it is made with the knowledge that the statement was
false or with reckless disregard for whether the statement was

false or not. New York Times Co. v. Sullivan, 376 U.S. 254, 279-

 

80 (1964); Gertz v. Robert Welch, 418 U.S. 323, 342 {1974). The

 

actual malice standard cannot be met solely with evidence of ill
will or common law malice. Reuber v. Food Chemical News, Inc.,
925 F.2d 703, 715 (4th Cir. 1991). However, evidence of ill will
can still be relevant to the question of whether “actual malice”

exists. Spirito v. Peninsula Airport Commission, 350 F.Supp.3d

471, 482 (E.D. Va. 2018).

33
Case 3:19-cv-00750-REP Document 74 Filed 03/26/21 Page 34 of 37 PagelD# 1221

Thus, in this case, Preston’s burden is to show, by clear and
convincing evidence,!’ that a jury could find that the individual
city council members realized that the motion, or at least its
implication, was false or they each had to subjectively entertain
serious doubts as to whether that fact was true. See Bose Corp v.
Consumers Union of the United States, Inc., 466 U.S. 485, 511,
n.30 (1984). He simply has not met that burden on the current
record.

b. Analysis
Preston argues that the second city council motion:
inferred, implied, implicated or insinuated false
statements of facts that Plaintiff is mentally unstable,
would become violent upon learning of his termination,
would commit violent, felonious, or criminal acts in
response to the termination of his employment, and
cannot be trusted as a law abiding citizen of the

Commonwealth, as an [sic] licensed attorney and officer

of the Court [sic], and as a former City Attorney of the

City of Petersburg to be alone in City Hall, a public

space, where he once worked, without a specifically

designated City of Petersburg Police escort.
AC § 44, ECF No. 20. For the sake of argument, the Court will
assume, without deciding, that Preston is correct and that such an
inference would be defamatory.

However, Preston cannot show that the individual defendants

acted with actual malice. First, Preston has not put forth any

 

*7 The applicable burden of proof applies when analyzing a summary
judgment motion. Anderson v. Liberty Lobby, Inc., 472 U.S. 242
(1986).

34
Case 3:19-cv-00750-REP Document 74 Filed 03/26/21 Page 35 of 37 PagelD# 1222

evidence that five of those defendants (i.e., Darrin Hill, Samuel
Parham, W. Howard Myers, Annette Smith-Lee, and John A. Hart, Sr)
acted with adverse animus of any kind. Thus, his defamation claim
against those defendants fails for that reason alone. Second,
even assuming that Cuthbert and Wilson-Smith had a personal dislike
of, and tense relationship with, Preston, personal dislike alone
is not sufficient to support a finding of actual malice.1® Nor is
proof of a tense relationship. On this record, no reasonable jury
could find that Cuthbert or Wilson-Smith passed the second motion
with the knowledge that any implications of the motion were false
or with reckless disregard for whether the implications were false
or not. In other words, there is simply no evidence on which a
reasonable jury could find that Cuthbert or Wilson-Smith acted
with actual malice. The City Motion for Summary Judgment is
granted with respect to Count II.

3. Count IV: Declaratory Judgment Against City Council

Finally, as to Count IV, Preston’s sole complaint is that the
City Council exceeded “its authority, the law and violated the

Plaintiff's legal and constitutional rights in its special meeting

 

18 Also, there is evidence that both Cuthbert and Mayor Parham
thought the second motion was warranted to protect city employees.
City Mot. for Summ. J. at 9, ECF No. SO. And Mayor Parham also
believed the motion might be necessary to protect sensitive
documents. City Mot. for Summ. J. at 9, ECF No. 50. Preston has
offered no evidence to create a genuine dispute of fact as to that
point.

35
Case 3:19-cv-00750-REP Document 74 Filed 03/26/21 Page 36 of 37 PagelD# 1223

motion . . . banning Plaintiff from entering City Hall with [sic]
a police escort.”19 AC 4 66, ECF No. 20. Significantly, there is
no delineation in Count IV as to which Constitutional and legal
rights have allegedly been violated. See AC § 66, ECF No. 20. In
his response brief, Preston mentions — for the first time —
violations of his due process and equal protection rights under
both the Virginia and United States Constitutions. PLS' RESP.
OPP'N. CITY MOT. SUMM. J. at 20-23, ECF No. 56. As the City
Defendants’ reply brief points out, however, there is not even an
allegation of an equal protection violation because there is no
contention in the Amended Complaint or elsewhere in the record
that Preston was treated differently because of some protected or
impermissible classification. REPLY BR. SUPP. MOT. SUMM. J. at 9-
10, ECF No. 59. That leaves the due process claim. The City

Defendants, citing Cloaninger v. McDevitt, 555 F.3d 324, 326 (4th

 

Cir. 2009), assert that Preston cannot raise this claim anew in
the opposition to summary judgement. REPLY BR. SUPP. MOT. SUMM.
J. at 9-11, ECF No. 59. The Court agrees. The City Motion for

Summary Judgment is granted with respect to Count IV.

 

19 The claim fails Twombly and Iqbal on its face, but that is not
how the matter was briefed for summary judgment.

36
Case 3:19-cv-00750-REP Document 74 Filed 03/26/21 Page 37 of 37 PagelD# 1224

III. Conclusion

For the foregoing reasons, the Tribune Motion for Summary
Judgment (ECF No. 47), addressing Count III, will be GRANTED and
the City Motion for Summary Judgment (ECF No. 49) will be DENIED
with respect to Count I and GRANTED with respect to Counts II and
Iv. The City Defendants’ improperly presented request for costs
and attorneys’ fees will be denied without prejudice to the
presentation of a properly presented, documented motion for an
award of attorneys’ fees and costs, if such a motion can be
presented.

It is so ORDERED.

 

/s/ hit
Robert E. Payne

Senior United States District Judge

Richmond, Virginia
Date: March 2.6 , 2021

37
